                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF OHIO
                                    WESTERN DIVISION

 Preterm-Cleveland, et al.,                   :
                                              :
                Plaintiffs,                   : Case No. 1:19-cv-00360
                                              :
                vs.                           : Judge Michael R. Barrett
                                              :
 Attorney General of Ohio, et al.,            :
                                              :
                Defendants.                   :
                                              :
                                              :

                          TEMPORARY RESTRAINING ORDER

       This matter is before the Court on the March 30, 2020 Temporary Restraining

Order that is set to expire on April 13, 2020 unless dissolved earlier or extended by the

Court. (Doc. 43).

       The State Defendants have timely filed their Response in Opposition to Plaintiffs’

Motion for a Preliminary Injunction (Doc. 59) and, per the briefing scheduled agreed to by

the parties, Plaintiffs’ Reply is due on April 15, 2020 (Apr. 1, 2020 Minute Entry). In light

of the agreed upon briefing schedule, the Court finds that good cause exists to extend the

Temporary Restraining Order, which is necessary to preserve the status quo until the

Court rules on the pending Motion for Preliminary Injunction. See FED. R. CIV. P. 65(b)(2).

Accordingly, Defendant; Defendant’s officers, agents, servants, employees, and

attorneys; and those persons in active concert or participation with them who receive

actual notice of the order remain TEMPORARILY RESTRAINED from enforcing the

Director’s Order against Plaintiffs as described in the March 30, 2020 Temporary
Restraining Order. This Order is effective upon entry and expires fourteen (14) days

thereafter unless dissolved earlier or extended by the Court.

       Finally, per the Court’s instructions at the April 1, 2020 telephonic conference and

the parties’ failure to do so as of the date of this Order, the parties are to apprise the Court

regarding their position on oral argument for Plaintiffs’ Motion for a Preliminary Injunction.

(Apr. 1, 2020 Minute Entry).

       IT IS SO ORDERED.
                                                   _s/ Michael R. Barrett___________
                                                   Michael R. Barrett, Judge
                                                   United States District Court




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